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Counsel for Defendants

                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

 NATIVE VILLAGE OF VENETIE TRIBAL
 GOVERNMENT, et al.,
                      Plaintiffs,
         v.
 DEBRA HAALAND, in her official capacity
 as Secretary of the United States Department       Case No. 3:20-cv-00223-SLG
 of the Interior, et al.,
                      Defendants,
   and
 NORTH SLOPE BOROUGH, et al.,
                      Intervenor-Defendants.


             DEFENDANTS’ STATUS REPORT ON ISSUANCE
   OF FINAL SUPPLEMENTAL ENVIRONMENTAL IMPACT STATEMENT

       This case is stayed, and in accordance with the Court’s order providing that further

status reports shall reflect “timeframes of key milestones in the process of conducting a

new environmental review and issuing a new record of decision addressing the Coastal

Plain Oil and Gas Leasing Program at issue in this litigation,” Defendants hereby provide

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this update on the status of the Final Supplemental Environmental Impact Statement.

Order dated Sept. 13, 2021, at 1, ECF No. 77; see also Text Order, ECF No. 91.

       Defendants previously advised that the Final Supplemental Environmental Impact

Statement was anticipated to issue in the first quarter of 2024, and that a Record of

Decision was expected to issue in the second quarter of 2024. Defendants now anticipate

issuing those documents in the second and third quarters of 2024, respectively.

       Defendants will file an additional status report upon the issuance of the Final

Supplemental Environmental Impact Statement, and will otherwise provide notice to

counsel as indicated by the parties’ prior status reports.

Respectfully submitted,

DATED: March 29, 2024.                     TODD KIM
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                                           United States Department of Justice
                                           Environment and Natural Resources Division
                                           /s/ Paul A. Turcke
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                            CERTIFICATE OF SERVICE

       I hereby certify that on March 29, 2024, a copy of the foregoing was served by
electronic means on all counsel of record by the Court’s CM/ECF system.

                                  /s/ Paul A. Turcke
                                      Paul A. Turcke




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